      Case 1:25-cv-00916-JDB          Document 19-31         Filed 04/08/25       Page 1 of 14




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

         Plaintiff,

 v.                                                          Case No. 1:25-cv-00916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

          Defendants.


                          [PROPOSED] ORDER GRANTING
                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
                   FOR DECLARATORY AND INJUNCTIVE RELIEF

        Upon consideration of Plaintiff’s Motion for Summary Judgment, ECF No. __,

Defendants’ Motion to Dismiss, ECF No. __, the parties’ respective legal memoranda,

declarations, and exhibits submitted in support of or in opposition to the motions, and the entire

record herein, for the reasons set forth in the accompanying Memorandum Opinion, it is hereby:—

        ORDERED that Plaintiff’s Motion for Summary Judgment, ECF No. __, is GRANTED;

it is further

        ORDERED that Defendants’ Motion to Dismiss, ECF No. __, is DENIED; it is further

        DECLARED that Executive Order 14,246, Addressing Risks From Jenner & Block, 90

Fed. Reg. 13,997 (Mar. 28, 2025), issued by the President on March 25, 2025, is unlawful because

it violates the First, Fifth, and Sixth Amendments to the U.S. Constitution, exceeds the President’s

constitutional authority under Article II, and violates the separation of powers; it is further

        DECLARED that Executive Order 14,246 is therefore null and void; it is further

        ORDERED that:
     Case 1:25-cv-00916-JDB          Document 19-31        Filed 04/08/25      Page 2 of 14




       (1) Defendants are permanently ENJOINED from implementing or enforcing Executive

Order 14,246 in any way;

       (2) Defendants are permanently ENJOINED from using or considering in any way or for

any purpose the statements laid out in Section 1 of Executive Order 14,246, including but not

limited to in any interactions with Jenner & Block LLP,* with Jenner & Block LLP’s clients, or

with employees or other personnel of Jenner & Block LLP or Jenner & Block LLP’s clients;

       (3) Defendants are DIRECTED to rescind all formal or informal guidance or other

direction provided to officers, staff, employees, or contractors of the federal government to

communicate, effectuate, implement, or enforce Executive Order 14,246, including Sections 2 and

4 that were not subject to this Court’s Temporary Restraining Order issued on March 28, 2025,

ECF No. 9;

       (4) Defendants are DIRECTED immediately to notify all officers, staff, employees, and

contractors subject to Executive Order 14,246 that Executive Order 14,246 is unlawful, and null

and void in its entirety and that Executive Order 14,246 therefore should be disregarded, including

all prior formal or informal advice, opinions, or direction previously received or communicated to

effectuate, implement, or enforce Executive Order 14,246, and that all departments, agencies,

officers, staff, employees, and contractors of the federal government should carry on with their

ordinary course of business with Jenner & Block LLP, its personnel, its clients, and its clients’

personnel known or believed by them to be associated with Jenner & Block LLP, as if Executive

Order 14,246 had not issued;




*
  For purposes of this Order, Jenner & Block LLP includes its affiliates, predecessors, successors,
assigns, directors, officers, partners, employees, and agents.


                                                2
      Case 1:25-cv-00916-JDB        Document 19-31        Filed 04/08/25      Page 3 of 14




       (5) Defendants are DIRECTED to immediately (a) communicate to every recipient of a

formal or informal request for disclosure of any relationship with Jenner & Block LLP or any

person associated with Jenner & Block LLP made pursuant to Section 3(a) of Executive Order

14,246 that such request is permanently rescinded; and (b) cease making such requests for

disclosure pursuant to Section 3(a) of Executive Order 14,246;

       (6) Defendants are DIRECTED to cease any security clearance review made pursuant to

Sections 1 or 2(a) of Executive Order 14,246 and to reverse any suspension or revocation of any

active security clearances made pursuant to Sections 1 or 2(a) of Executive Order 14,246;

       (7) Defendants are ORDERED that they must, in good faith, take such other steps as are

necessary to prevent the implementation or enforcement of Executive Order 14,246 and to reverse

any implementation or enforcement of Executive Order 14,246 that has occurred or is occurring;

and

       (8) Defendants Office of Management and Budget (“OMB”) and Russell Vought, in his

official capacity as director of OMB, are DIRECTED to identify all government goods, property,

material, and services, provided for the benefit of Jenner & Block LLP that were previously

identified pursuant to Section 2(b) of Executive Order 14,246 and to immediately issue direction

to the relevant heads of agencies that they are to reverse any cessation of the provision of such

material or services, if such cessation was pursuant to Executive Order 14,246;

       (9) Defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

Attorney General; Equal Employment Opportunity Commission (“EEOC”); and Andrea R. Lucas,

in her official capacity as Acting Chair of the EEOC, are DIRECTED immediately to cease any

investigation of Jenner & Block LLP made pursuant to Section 4 of Executive Order 14,246, and




                                                3
     Case 1:25-cv-00916-JDB           Document 19-31        Filed 04/08/25      Page 4 of 14




to withdraw any requests for information from Jenner & Block LLP or other investigative steps

made pursuant to Section 4 of Executive Order 14,246;

       (10) Defendants U.S. Department of Justice, Pamela Bondi, in her official capacity as U.S.

Attorney General, the OBM, and Russell Vought, in his official capacity as Director of the OBM,

are DIRECTED additionally to immediately issue direction, which shall include a copy of this

Order, to all Defendants and all departments, agencies, and other entities subject to Executive

Order 14,246, including their respective officers, staff, employees, and contractors, to:

       (a)   rescind any implementation or enforcement of Executive Order 14,246, including any

             use, consideration, or reliance on the statements in Section 1 of the Executive Order;

       (b)   rescind all formal or informal guidance or other direction provided to officers, staff,

             employees, or contractors to communicate, effectuate, implement, or enforce

             Executive Order 14,246 in whole or part, including Sections 2 and 4 that were not

             subject to this Court’s Temporary Restraining Order issued on March 28, 2025, ECF

             No. 9;

       (c)   disregard Executive Order 14,246 in its entirety, including the statements in Section

             1 of the Order, in their dealings with Jenner & Block LLP, Jenner & Block LLP

             personnel, and clients known or believed by them to be associated with Jenner &

             Block LLP, and carry on with their ordinary course of business as if Executive Order

             14,246 had not issued;

       (d)   immediately communicate to every recipient of a formal or informal request for

             disclosure of any relationship with Jenner & Block LLP or any person associated

             with the firm made pursuant to Executive Order 14,246, that such request is




                                                 4
     Case 1:25-cv-00916-JDB          Document 19-31        Filed 04/08/25      Page 5 of 14




             permanently rescinded, and cease making such requests for disclosure pursuant to

             Executive Order 14,246;

       (e)   cease any security clearance review made or initiated pursuant to Sections 1 or 2(a)

             of Executive Order 14,246 and reverse any suspension or revocation of any active

             security clearances made pursuant to Sections 1 or 2(a) of Executive Order 14,246;

       (f)   act in good faith to take such other steps as are necessary to prevent the

             implementation or enforcement of Executive Order 14,246, to reverse any

             implementation or enforcement of Executive Order 14,246 that has occurred or is

             occurring;

       (g)   comply with all forms of relief in this Order; and

       (h)   be aware that all Defendants and all departments, agencies, and other entities subject

             to Executive Order 14,246, including their respective officers, staff, employees and

             contractors, are bound by the Court’s Order, under penalty of contempt.

For the avoidance of doubt, the recipients of the foregoing direction shall include, but not be

limited to, (i) Defendants; (ii) the departments, agencies, other entities listed on Appendix A

hereto, including the responsible officials and their successors at each entity, also listed on

Appendix A; (iii) any other departments, agencies, and entities that received Executive Order

14,246 or guidance related to Executive Order 14,246; and (iv) any officers, staff, employees, and

contractors of any of the foregoing who were provided with Executive Order 14,246 or guidance

related to Executive Order 14,246; and it is further

       ORDERED that Defendants shall file a status report within two business days of this Order

describing the steps taken to ensure compliance with this Order and certifying compliance with its

requirements; and it is further




                                                 5
    Case 1:25-cv-00916-JDB         Document 19-31       Filed 04/08/25     Page 6 of 14




      ORDERED that this Order shall remain in effect until further order of this Court.

      IT IS SO ORDERED.


Dated: __________________                                 _____________________________
                                                          Hon. John D. Bates
                                                          U.S. District Judge




                                              6
    Case 1:25-cv-00916-JDB      Document 19-31      Filed 04/08/25    Page 7 of 14




                                    APPENDIX A

•    Administration for Strategic Preparedness and Response
        o Assistant Secretary for Preparedness and Response
        o Principal Deputy Assistant Secretary for Preparedness and Response
•    Administrative Conference of the United States
        o Chairman of the Administrative Conference of the United States
        o Council Members of the Administrative Conference of the United States
•    Advisory Council on Historic Preservation
        o Chairman of the Advisory Council on Historic Preservation
        o Members of the Advisory Council on Historic Preservation
•    Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Deputy Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
•    Bureau of the Census
        o Director of the Bureau of the Census
        o Deputy Director of the Bureau of the Census
•    Bureau of Consumer Financial Protection
        o Director of the Bureau of Consumer Financial Protection
        o Deputy Director of the Bureau of Consumer Financial Protection
•    Bureau of Economic Analysis
        o Director of the Bureau of Economic Analysis
        o Deputy Director of the Bureau of Economic Analysis
•    Bureau of Indian Affairs
        o Assistant Secretary for Indian Affairs
        o Director of the Bureau of Indian Affairs
•    Bureau of Industry and Security
        o Under Secretary of Commerce for Industry and Security
        o Deputy Under Secretary of Commerce for Industry and Security
•    Bureau of International Labor Affairs
        o Deputy Undersecretary of Labor for International Affairs
        o Associate Deputy Undersecretaries of Labor for International Affairs
•    Bureau of Land Management
        o Director of the Bureau of Land Management
        o Deputy Director of the Bureau of Land Management
•    Bureau of Ocean Energy Management
        o Director of the Bureau of Ocean Energy Management
        o Deputy Director of the Bureau of Ocean Energy Management
•    Bureau of Reclamation
        o Commissioner of the Bureau of Reclamation
        o Deputy Commissioners of the Bureau of Reclamation
•    Bureau of Safety and Environmental Enforcement
        o Director of the Bureau of Safety and Environmental Enforcement
        o Deputy Director of the Bureau of Safety and Environmental Enforcement
•    Centers for Medicare & Medicaid Services
        o Administrator of the Centers for Medicare & Medicaid Services


                                          7
    Case 1:25-cv-00916-JDB      Document 19-31      Filed 04/08/25    Page 8 of 14




        o Deputy Administrator of the Centers for Medicare & Medicaid Services
•    Central Intelligence Agency
        o Director of the Central Intelligence Agency
        o Deputy Director of the Central Intelligence Agency
•    CHIPS Research and Development Office
        o Director of the CHIPS Research and Development Office
        o Deputy Director of the CHIPS Research and Development Office
•    Committee on Foreign Investment in the United States
        o Chairperson of the Committee on Foreign Investment in the United States
        o Members of the Committee on Foreign Investment in the United States
•    Commodity Futures Trading Commission
        o Chairman of the Commodity Futures Trading Commission
        o Commissioners of the Commodity Futures Trading Commission
•    Consumer Product Safety Commission
        o Chairman of the Consumer Product Safety Commission
        o Commissioners of the Consumer Product Safety Commission
•    Council on Environmental Quality
        o Chair of the Council on Environmental Quality
        o Members of the Council on Environmental Quality
•    Defense Contract Audit Agency
        o Director of the Defense Contract Audit Agency
        o Deputy Director of the Defense Contract Audit Agency
•    Defense Contract Management Agency
        o Director of the Defense Contract Management Agency
        o Deputy Director of the Defense Contract Management Agency
•    Defense Logistics Agency
        o Director of the Defense Logistics Agency
        o Vice Director of the Defense Logistics Agency
•    Department of the Air Force
        o Secretary of the Air Force
        o Under Secretary of the Air Force
•    Department of the Army
        o Secretary of the Army
        o Under Secretary of the Army
•    Department of Commerce
        o Secretary of Commerce
        o Deputy Secretary of Commerce
•    Department of Defense
        o Secretary of Defense
        o Deputy Secretary of Defense
•    Department of Education
        o Secretary of Education
        o Deputy Secretary of Education
•    Department of Energy
        o Secretary of Energy
        o Deputy Secretary of Energy


                                          8
    Case 1:25-cv-00916-JDB     Document 19-31      Filed 04/08/25   Page 9 of 14




•    Department of Health and Human Services
        o Secretary of Health and Human Services
        o Deputy Secretary of Health and Human Services
•    Department of Homeland Security
        o Secretary of Homeland Security
        o Deputy Secretary of Homeland Security
•    Department of Housing and Urban Development
        o Secretary of Housing and Urban Development
        o Deputy Secretary of Housing and Urban Development
•    Department of the Interior
        o Secretary of the Interior
        o Deputy Secretary of the Interior
•    Department of Justice
        o Attorney General
        o Deputy Attorney General
•    Department of Labor
        o Secretary of Labor
        o Deputy Secretary of Labor
•    Department of the Navy
        o Secretary of the Navy
        o Under Secretary of the Navy
•    Department of State
        o Secretary of State
        o Deputy Secretary of State
•    Department of Toxic Substance Controls
        o Director of the Department of Toxic Substance Controls
        o Chief Deputy Director of the Department of Toxic Substance Controls
•    Department of Transportation
        o Secretary of Transportation
        o Deputy Secretary of Transportation
•    Department of the Treasury
        o Secretary of the Treasury
        o Deputy Secretary of the Treasury
•    Department of Veterans Affairs
        o Secretary of Veterans Affairs
        o Deputy Secretary of Veterans Affairs
•    Directorate of Defense Trade Controls
        o Deputy Assistant Secretary of the Directorate of Defense Trade Controls
        o Director of Compliance of the Office of Defense Trade Controls Compliance
        o Director of Licensing of the Office of Defense Trade Controls Licensing
        o Director of Management of the Office of Defense Trade Controls Management
        o Director of the Office of Defense Trade Controls Policy
•    Drug Enforcement Administration
        o Administrator of the Drug Enforcement Administration
        o Deputy Administrator of the Drug Enforcement Administration
•    Environmental Protection Agency


                                         9
Case 1:25-cv-00916-JDB        Document 19-31      Filed 04/08/25   Page 10 of 14




       o Administrator of the Environmental Protection Agency
       o Deputy Administrator of the Environmental Protection Agency
•   Equal Employment Opportunity Commission
       o Chair of the Equal Employment Opportunity Commission
       o Commissioners of the Equal Employment Opportunity Commission
•   Executive Office of the President
       o White House Chief of Staff
       o White House Deputy Chief of Staff
•   Executive Office for U.S. Trustees
       o Director of the U.S. Trustee Program
       o Principal Deputy Director of the U.S. Trustee Program
•   Federal Aviation Administration
       o Administrator of the Federal Aviation Administration
       o Deputy Administrator of the Federal Aviation Administration
•   Federal Bureau of Investigation
       o Director of the Federal Bureau of Investigation
       o Deputy Director of the Federal Bureau of Investigation
•   Federal Bureau of Prisons
       o Director of the Federal Bureau of Prisons
       o Deputy Director of the Federal Bureau of Prisons
•   Federal Communications Commission
       o Chairman of the Federal Communications Commission
       o Commissioners of the Federal Communications Commission
•   Federal Deposit Insurance Corporation
       o Chairman of the Federal Deposit Insurance Corporation
       o Board Members of the Federal Deposit Insurance Corporation
•   Federal Election Commission
       o Chair of the Federal Election Commission
       o Commissioners of the Federal Election Commission
•   Federal Emergency Management Agency
       o Administrator of the Federal Emergency Management Agency
       o Deputy Administrator of the Federal Emergency Management Agency
•   Federal Energy Regulatory Commission
       o Chairman of the Federal Energy Regulatory Commission
       o Commissioners of the Federal Energy Regulatory Commission
•   Federal Highway Administration
       o Administrator of the Federal Highway Administration
       o Deputy Administrator of the Federal Highway Administration
•   Federal Home Loan Mortgage Corporation (Freddie Mac)
       o Chairman of the Federal Home Loan Mortgage Corporation
       o President and Chief Executive Officer of the Federal Home Loan Mortgage
           Corporation
•   Federal Labor Relations Authority
       o Chair of the Federal Labor Relations Authority
       o Board Members of the Federal Labor Relations Authority
•   Federal National Mortgage Association (Fannie Mae)


                                        10
Case 1:25-cv-00916-JDB        Document 19-31       Filed 04/08/25    Page 11 of 14




        o Chairman of the Federal National Mortgage Association
        o President and Chief Executive Officer of the Federal National Mortgage
            Association
•   Federal Permitting Improvement Steering Council
        o Executive Director of the Federal Permitting Improvement Steering Council
        o Deputy Executive Director of the Federal Permitting Improvement Steering
            Council
•   Federal Reserve System
        o Chair of the Board of Governors of the Federal Reserve System
        o Governors of the Federal Reserve System
•   Federal Transit Administration
        o Administrator of the Federal Transit Administration
        o Deputy Administrator of the Federal Transit Administration
•   Financial Crimes Enforcement Network
        o Director of the Financial Crimes Enforcement Network
        o Deputy Director of the Financial Crimes Enforcement Network
•   Food and Drug Administration
        o Commissioner of Food and Drugs
        o Principal Deputy Commissioner of Food and Drugs
•   Government Accountability Office
        o Comptroller General of the United States
        o Deputy Comptroller General of the United States
•   Grid Deployment Office
        o Under Secretary of Energy for Infrastructure
        o Director of the Grid Deployment Office
        o Deputy Director for Grid Modernization of the Grid Deployment Office
        o Deputy Director for Resource Adequacy of the Grid Deployment Office
•   Internal Revenue Service
        o Commissioner of Internal Revenue
        o Deputy Commissioner of Internal Revenue
•   International Trade Administration
        o Under Secretary of Commerce for International Trade
        o Deputy Under Secretary of Commerce for International Trade
•   Loan Programs Office
        o Director of the Loan Programs Office
        o Deputy Director of the Loan Programs Office
•   National Institutes of Health
        o Director of the National Institutes of Health
        o Principal Deputy Director of the National Institutes of Health
•   National Highway Traffic Safety Administration
        o Administrator of the National Highway Traffic Safety Administration
        o Deputy Administrator of the National Highway Traffic Safety Administration
•   National Labor Relations Board
        o Chairman of the National Labor Relations Board
        o Members of the National Labor Relations Board
•   National Marine Fisheries Service


                                         11
Case 1:25-cv-00916-JDB        Document 19-31      Filed 04/08/25    Page 12 of 14




       o Assistant Administrator for Fisheries
       o Deputy Assistant Administrator for Fisheries
•   National Oceanic and Atmospheric Administration
       o Under Secretary of Commerce for Oceans and Atmosphere
       o Administrator of the National Oceanic and Atmospheric Administration
•   National Park Service
       o Director of the National Park Service
       o Deputy Director of the National Park Service
•   National Renewable Energy Laboratory
       o Director of the National Renewable Energy Laboratory
       o Deputy Director of the National Renewable Energy Laboratory
•   National Transportation Safety Board
       o Chair of the National Transportation Safety Board
       o Members of the National Transportation Safety Board
•   Nuclear Regulatory Commission
       o Chair of the Nuclear Regulatory Commission
       o Commissioners of the Nuclear Regulatory Commission
•   Occupational Safety and Health Administration
       o Assistant Secretary of Labor for Occupational Safety and Health
       o Deputy Assistant Secretaries of Labor for Occupational Safety and Health
•   Occupational Safety and Health Review Commission
       o Chair of the Occupational Safety and Health Review Commission
       o Commissioners of the Occupational Safety and Health Review Commission
•   Office of Clean Energy Demonstrations
       o Director of the Office of Clean Energy Demonstrations
       o Deputy Director of the Office of Clean Energy Demonstrations
•   Office of the Comptroller of the Currency
       o Comptroller of the Currency
       o Senior Deputy Comptrollers of the Currency
•   Office of the Director of National Intelligence
       o Director of National Intelligence
       o Principal Deputy Director of National Intelligence
•   Office of Federal Contract Compliance Programs
       o Director of the Office of Federal Contract Compliance Programs
       o Deputy Director of the Office of Federal Contract Compliance Programs
•   Office of Foreign Assets Control
       o Director of the Office of Foreign Assets Control
       o Deputy Director of the Office of Foreign Assets Control
•   Office of Management and Budget
       o Director of the Office of Management and Budget
       o Deputy Director of the Office of Management and Budget
•   Office of Science and Technology Policy
       o Director of the Office of Science and Technology Policy
       o Deputy Director of the Office of Science and Technology Policy
•   Offices of the United States Attorneys
       o Director of the Executive Office for U.S. Attorneys


                                        12
Case 1:25-cv-00916-JDB       Document 19-31      Filed 04/08/25   Page 13 of 14




       o Deputy Director of the Executive Office for U.S. Attorneys
•   Office of the United States Trade Representative
       o United States Trade Representative
       o Deputy United States Trade Representative
•   Patent Trial and Appeal Board
       o Director of the Patent Trial and Appeal Board
       o Deputy Director of the Patent Trial and Appeal Board
•   Securities and Exchange Commission
       o Chairman of the Securities and Exchange Commission
       o Commissioners of the Securities and Exchange Commission
•   Small Business Administration
       o Administrator of the Small Business Administration
       o Deputy Administrator of the Small Business Administration
•   Social Security Administration
       o Commissioner of the Social Security Administration
       o Deputy Commissioner of the Social Security Administration
•   Trademark Trial and Appeal Board
       o Director of the Trademark Trial and Appeal Board
       o Deputy Director of the Trademark Trial and Appeal Board
•   Transportation Security Administration
       o Administrator of the Transportation Security Administration
       o Deputy Administrator of the Transportation Security Administration
•   U.S. Army Corps of Engineers
       o Chief of Engineers and Commanding General of the U.S. Army Corps of
            Engineers
       o Deputy Commanding General of the U.S. Army Corps of Engineers
•   U.S. Capitol Police
       o Chief of the U.S. Capitol Police
       o Assistant Chiefs of the U.S. Capitol Police
•   U.S. Coast Guard
       o Commandant of the U.S. Coast Guard
       o Vice Commandant of the U.S. Coast Guard
•   U.S. Copyright Office
       o Register of Copyrights and Director of the U.S. Copyright Office
       o Associate Register of Copyrights
•   U.S. Citizenship and Immigration Services
       o Director of U.S. Citizenship and Immigration Services
       o Deputy Director of U.S. Citizenship and Immigration Services
•   U.S. Customs and Border Protection
       o Commissioner of U.S. Customs and Border Protection
       o Deputy Commissioner of U.S. Customs and Border Protection
•   U.S. Department of Agriculture
       o Secretary of Agriculture
       o Deputy Secretary of Agriculture
•   U.S. Department of Agriculture Rural Development
       o Under Secretary of Agriculture for Rural Development


                                       13
Case 1:25-cv-00916-JDB        Document 19-31      Filed 04/08/25    Page 14 of 14




       o Deputy Under Secretary of Agriculture for Rural Development
•   U.S. Fish & Wildlife Service
       o Director of the U.S. Fish & Wildlife Service
       o Principal Deputy Director of the U.S. Fish & Wildlife Service
•   U.S. Forest Service
       o Forest Service Chief
       o Associate Forest Service Chief
•   U.S. Immigration and Customs Enforcement
       o Director of U.S. Immigration and Customs Enforcement
       o Deputy Director of U.S. Immigration and Customs Enforcement
•   U.S. International Trade Commission
       o Chair of the U.S. International Trade Commission
       o Commissioners of the U.S. International Trade Commission
•   U.S. Marshals Service
       o Director of the U.S. Marshals Service
       o Deputy Director of the U.S. Marshals Service
•   U.S. Marine Corps
       o Commandant of the U.S. Marine Corps
       o Assistant Commandant of the U.S. Marine Corps
•   U.S. Patent & Trademark Office
       o Director of the U.S. Patent & Trademark Office
       o Deputy Director of the U.S. Patent & Trademark Office
•   U.S. Postal Inspection Service
       o Chief Postal Inspector
       o Deputy Chief Postal Inspector
•   U.S. Postal Service
       o Postmaster General
       o Deputy Postmaster General
•   U.S. Secret Service
       o Director of the U.S. Secret Service
       o Deputy Director of the U.S. Secret Service
•   U.S. Space Force
       o Secretary of the Air Force
       o Under Secretary of the Air Force




                                        14
